Case 5:17-cv-13330-JEL-APP ECF No. 27, PageID.151 Filed 01/23/18 Page 1 of 5




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION
__________________________________________________________________

RHONDA SINGH,                               CASE NO. 5:17-cv-13330-JEL-APP
        Plaintiff,
                                            Judge Judith E. Levy
      vs.                                   Magistrate Judge Anthony P. Patti

TRANS UNION, LLC, a foreign
limited liability company; EXPERIAN
INFORMATION SOLUTIONS, INC.;
an Ohio corporation; and
TRANSWORLD SYSTEMS, INC.,
a foreign profit corporation,
              Defendants.
  _________________________________________________________________

      STIPULATED ORDER OF DISMISSAL WITH PREJUDICE
          AS TO DEFENDANT TRANS UNION, LLC, ONLY
__________________________________________________________________

      Plaintiff Rhonda Singh, by counsel, and Defendant Trans Union, LLC, by

counsel, having agreed to the entry of this Stipulation And Order Of Dismissal

With Prejudice dismissing all claims of Plaintiff Rhonda Singh against Defendant

Trans Union, LLC only, with prejudice, AND THE COURT, having been duly

advised, NOW FINDS that the same should be granted.

      IT IS, THEREFORE, ORDERED that all claims of Plaintiff Rhonda Singh

against Defendant Trans Union, LLC only are dismissed, with prejudice. Plaintiff

and Trans Union, LLC shall each bear their own costs and attorneys’ fees.




                                                      Page 1 of 5
Case 5:17-cv-13330-JEL-APP ECF No. 27, PageID.152 Filed 01/23/18 Page 2 of 5




Dated: January 23, 2018                  s/Judith E. Levy
      Ann Arbor, Michigan                JUDITH E. LEVY
                                         United States District Judge


                                   I consent to the entry of this order:



Date:   January 23, 2018           /s/Carl Schwartz (w/ consent)
                                   Gary D. Nitzkin, Esq.
                                   Carl Schwartz, Esq.
                                   Credit Repair Lawyers of America
                                   22142 West Nine Mile Road
                                   Southfield, MI 48033
                                   Telephone: 248-353-2882
                                   Fax: 248-213-6397
                                   E-Mail: gary@micreditlawyer.com
                                            carl@micreditlawyer.com

                                   Counsel for Plaintiff Rhonda Singh


Date: January 23, 2018             /s/William M. Huse
                                   Andrew M. Lehmann, Esq. (IN #31151-06)
                                   William M. Huse, Esq. (IN #31622-49)
                                   Schuckit & Associates, P.C.
                                   4545 Northwestern Drive
                                   Zionsville, IN 46077
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                                   E-Mail: whuse@schuckitlaw.com

                                   Counsel for Trans Union, LLC




                                                   Page 2 of 5
Case 5:17-cv-13330-JEL-APP ECF No. 27, PageID.153 Filed 01/23/18 Page 3 of 5




                                   Brian A. Nettleingham, Esq. (MI #P58966)
                                   Maddin, Hauser, Wartell, Roth
                                   & Heller, P.C.
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                                   Southfield, MI 48034
                                   Telephone: 248-359-7503
                                   E-Mail: ban@maddinhauser.com

                                   Local Counsel for Defendant Trans Union, LLC




                                                  Page 3 of 5
Case 5:17-cv-13330-JEL-APP ECF No. 27, PageID.154 Filed 01/23/18 Page 4 of 5




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
__________________________________________________________________

RHONDA SINGH,                               CASE NO. 5:17-cv-13330-JEL-APP
        Plaintiff,
                                            Judge Judith E. Levy
      vs.                                   Magistrate Judge Anthony P. Patti

TRANS UNION, LLC, a foreign
limited liability company; EXPERIAN
INFORMATION SOLUTIONS, INC.;
an Ohio corporation; and
TRANSWORLD SYSTEMS, INC.,
a foreign profit corporation,
              Defendants.
 __________________________________________________________________

                    CERTIFICATE OF SERVICE
__________________________________________________________________

       I, William M. Huse, hereby certify that on the 23rd day of January, 2018, I
electronically filed the foregoing with the Clerk of the Court using the ECF
systems which will automatically send notification of such filing to the following
counsel of record:

Gary D. Nitzkin, Esq.                    Tamara E. Fraser
gary@micreditlawyer.com                  tefraser@wwrplaw.com
Carl Schwartz, Esq.                      Daniel W. Pisani, Esq.
carl@micreditlawyer.com                  dpisani@sessions.legal
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                                                      Page 4 of 5
Case 5:17-cv-13330-JEL-APP ECF No. 27, PageID.155 Filed 01/23/18 Page 5 of 5




      I further certify that on the 23rd day of January, 2018, a copy of the
foregoing was sent via U.S., First Class Mail, postage prepaid to the following
non-ECF participants:

None.

                                    Respectfully submitted,



                                    /s/William M. Huse
                                    Andrew M. Lehmann, Esq. (IN #31151-06)
                                    William M. Huse, Esq. (IN #31622-49)
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                                    Counsel for Trans Union, LLC




                                                    Page 5 of 5
